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              Exhibit 50
                                                  Case 1:21-cv-00040-CJN Document 1-50 Filed 01/08/21 Page 2 of 13
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                                        FRAUD                                                                                                                                                                                SEARCH ...




         Powell:
               Election
                      FraudNowObviousBecause
         President
                 Trump'sLandslide
                               VictoryBroke
         Dominion'Vote-Switch'
                            Algorithm
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        File -Attorney Sidney Powell is pictured. (Ben Margot/AP Photo)

        DAN
          Newsroom
        UPDATED
            7:26AMPT- Wednesday,
                            December
                                 30,2020

        Attorney Sidney Powell recently gave a detailed interview on the evidence of
        election fraud after releasing a 270 page summary of her investigation.
        uc...,. +,,..,.,.L ..,+,...+,..,. ..........,..1,...,..+;,....... .,..;...,,.i..+;,. ,..1.-....,..,1•• +,...1.. ~ .,....,....,.,.,.....,,...,-1,....,..+,...,.I
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Document title: Powell: Election fraud now obvious because President Trump’s landslide victory broke Dominion ‘vote-switch’ algorithm | One America News Network
Capture URL: https://www.oann.com/powell-election-fraud-now-obvious-because-president-trumps-landslide-victory-broke-dominion-vote-switch-algorithm/
Capture timestamp (UTC): Fri, 01 Jan 2021 18:40:55 GMT                                                                                                     Page 1 of 12
        File -Attorney Sidney Powell is pictured. (Ben Margot/AP Photo)
                             Case 1:21-cv-00040-CJN Document 1-50 Filed 01/08/21 Page 3 of 13
        DAN
          Newsroom
        UPDATED
            7:26AMPT- Wednesday,
                            December
                                 30,2020

        Attorney Sidney Powell recently gave a detailed interview on the evidence of
        election fraud after releasing a 270 page summary of her investigation.

        "So for 5 states on election night is absolutely unprecedented," she explained.
        "And they did it because the vote count for the Electoral College was about to hit
        270 for President Trump."

        Powell said the President won a second term in office on election night and
        Democrat officials had to use all the tools they had to prevent that from
        happening. She added, this includes foreign meddling, electronic manipulation of
        votes and expelling poll-watchers.

        "The flipping of votes by Dominion is even advertised on their ability to do that, to
        run a fraction, to make a Biden vote count 1.26% and a Trump vote to only count
        0.74%," the attorney continued. "They done it in other foreign countries, they've
        done it in this country."

        Powell went on to note that voter fraud in this election was so rampant because
        President Trump's landslide victory was breaking the Dominion algorithm.

        LISTENTO THE FULLINTERVIEWHERE:


                   Murray~     @Rothbard1776 • Dec 29, 2020
                   Replying to @Rothbard1776
                   17/ AUDIO [Part One]




                   Murray~
                   @Rothbard1776

           18/ AUDIO [Part Two]




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                             Case 1:21-cv-00040-CJN Document 1-50 Filed 01/08/21 Page 4 of 13

                   Murray~
                   @Rothbard1776

           18/ AUDIO [Part Two]




           7:14 PM , Dec 29, 2020                                                        CD
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           - Howto Financially MustObey
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          20 hours ago , 36'.'o comments      16 hours ago• 1069 comments       a day ago • 406 comments
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        ftlJ' Join the discussion ...
                  LOGIN"WITH
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                  8000                          Name



                  Jackie Chiles•  2 daysago

                  We know the machines were rigged, ballots were forged, the dead voted, Trump
                  ballots were thrown in the trash, and after all that cheating, still Eiden barely
                  squeaked by.

                  Trump won and Eiden lost in every way possible.
                  92 "   Iv     9 • Reply • Share >

                          kaiju ,+ JackieChiles• 2 daysago
                          Weal! saw Trumps huge win on election night. We saw the vote counts stop in
                          swing states. We saw the reports of poll watchers being denied access. We saw
                          the 100% Eiden counts come in. We saw the steal and we know where it
                          happened and when it happened.
                         71 "     Iv   S • Reply • Share >

                                    ocean,+ kaiju• 2 daysago
                                    The CNN election coverage showed the Election Fraud software
                                    Feedback Loop that flipped Trump votes to Eiden. This was
                                    displayed on the TV for the whole world to see.
                                    51 "   Iv s .   Reply • Share>

                                            john,+ ocean• 2 daysago
                                            i so love the down votes -makes it easier to find the trolls and
                                            block them lo!
                                            11 " I v 1 • Reply • Share >



                                            Nullzip ,+john• 2 daysago
                                            Yeah but some of them are to cowardly to log in and display
                                            their names.
                                            1"   Iv 2. Reply. Share,
                                            glemo ,+ john • an hourago
                                            If the downvotes went for the GOP why didn't the Trump vote
                                            do the same, people wanted to get rid of the scum bag
                                            " I v 1 - Reply - Share ,
                                            Kooldaid ,+ocean• 2 daysago
                                            Really? Are really that stupid?
                                            8 " I v 18 • Reply • Share >

                                            Yukon Cornelius,+ Kooldaid• 2 daysago
                                            Yes, you really are that stupid. Blocked.
                                            28" I v 3 • Reply. Share,




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                                        Kooldaid ..+ocean•2 daysago
                             Case 1:21-cv-00040-CJN              Document 1-50 Filed 01/08/21 Page 7 of 13
                                    Really? Are really that stupid?
                                    8 " I v 18 • Reply • Share ,

                                        Yukon Cornelius..+ Kooldaid• 2 daysago
                                        Yes, you really are that stupid. Blocked.
                                        28" I v 3 • Reply. Share,

                                        It's All Over But The Cryin' ..+YukonCornelius•2 daysago
                                        Even more news emerged Tuesday that the presidential race
                                        was free and fair: A law enforcement audit of more than 15,000
                                        absentee ballot envelope signatures in Cobb County, Georgia
                                        found no fraud or irregularities at all.

                                        Between the Secretary of State's office and the Georgia Bureau
                                        of Investigation, investigators found just a handful of minor
                                        issues among the randomly-selected envelopes they reviewed.

                                        Nine envelopes total had signatures that investigators believed
                                        didn't match official records, in one case because a voter's
                                        spouse signed his envelope for him. Another envelope was
                                        missing a signature. Investigators confirmed with all 10 voters
                                        that they'd cast the ballots in question.

                                        The bottom line? "No fraudulent absentee ballots were
                                        identified during the audit," investigators said.
                                        13 " I v 23 • Reply • Share ,

                                        Sniff achoo..+ It's AllOverButTheCryin'- 2 daysago
                                        The proof is overwhelming. There is no verbal gesticulation or
                                        corrupt municipal officials that can change the proof that
                                        resides in the hands of those who have worked to investigate
                                        the election results. I too sat and watched the returns as they
                                        came in ...and I remember the swamp creatures, Shiff, Pelosi,
                                        Nadler, Feinstine, Schumer, and dozens of other Democrats
                                        that were more than happy to destroy our existing government
                                        for their own gain. Let's not forget how heroic our president
                                        was dm;ng these past 4 years.
                                        27 "   Iv    4 • Reply • Share ,

                                        Vandyman63 ..+Sniffachoo- 2 daysago
                                        Thank you, Sniff.
                                        Well stated!
                                        8 "    Iv   1 -   Reply - Share,

                                        It's All Over But The Cryin' ,+ Sniffachoo- 2 daysago
                                        "The proof is overwhelming."

                                        It seems that way to you because you're paranoid. So with
                                        tunnel-vision, you typically focus on irrelevant information
                                        that supports your biases while ignoring the big picture.
                                        5" I v 6 • Reply. Share,

                                        Lopoce ..+It'sAllOverButTheCryin'• 2 daysago
                                        SHUT UP COMMIE YOU ARE WEAK MINDED BUT WE ARE
                                        NOT
                                        5" I v 1 - Reply - Share,

                                 Jit;/ glemo ..+Lopoce• an hourago


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                                        5"    I   v       6 • Reply. Share,
                             Case 1:21-cv-00040-CJN Document 1-50 Filed 01/08/21 Page 8 of 13
                                        Lopoce ,+ It'sAllOverButThe Cryin'• 2 daysago
                                        SHUT UP COMMIE YOU ARE WEAK MINDED BUT WE ARE
                                        NOT
                                        5" I v 1. Reply. Share,

                                        gle1110,+ Lopoce• an hour ago
                                        Shut up N@zi Trump cult supporter
                                         " Iv         •   Reply • Share ,

                                        Paleface,+ It's AllOver ButThe Cryin'• 2 daysago
                                        The big picture is election fraud! You ignore actual evidence if
                                        it doesn't fit your narrative.
                                        4 "   Iv          1 • Reply • Share ,




                                 ■
                                        Chuck Shick,+ Sniffachoo• 2 daysago
                                        Heroic?!

                                        JFC buddy. Please don't operate machinery.
                                        4"    Iv          9 •Reply•     Share,

                                        Lopoce ,+ ChuckShick• 2 daysago
                                        STFUmoron
                                        5"    Iv          •   Reply • Share ,




                                 ■
                                        Chuck Shick,+ Lopoce• 2 daysago • edited
                                        Woowee! Check out this new troll's comments folks. Looks like
                                        little Billy showed his bigoted, angry grandpa how go online.
                                         " Iv         1 • Reply • Share ,

                                        gle1110,+ Sniffachoo• 2 daysago
                                        Trump in the past 4 years is the biggest liar, most corrupt, most
                                        incompetent, most bigoted president in history of the republic
                                         " I v 4 • Reply • Share ,
                                        TimPatriot ,+ glen10• 2 daysago
                                        You win for stupid post of the week.
                                        6 "   Iv          1 • Reply • Share ,

                                  •     lolgfy ,+ glen10• 4 hoursago
                                 ~      coming from a sheep like you following the corrupt media?
                                        GTFO
                                        " I v • Reply • Share ,
                                        gle1110,+ lolgfy• an hour ago• edited
                                        Not true, I don't watch FOX News, 0Al'1, Newsmax or
                                        Breitbart Limbaugh etc. You are the one that has been duped
                                        " I v • Reply • Share ,
                                        Papa Louie ,+ Sniffachoo• 2 daysago
                                        Hope you get a job.
                                        " I v 4 • Reply • Share ,
                                        con_fuse ,+ Sniffachoo• 2 daysago
                                        There is literally zero evidence (let alone "proof') of any major
                                        fraud (enough to change the results). That is the conclusion of
                                        everyone that has looked at the so called 'evidence' submitted




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                                        Papa Louie ,+ Sniffachoo• 2 daysago
                             Case 1:21-cv-00040-CJN
                                    Hope you get a job.     Document 1-50 Filed 01/08/21 Page 9 of 13
                                    " I v 4 • Reply. Share,
                                        con_fuse ,+ Sniffachoo• 2 daysago
                                        There is literally zero evidence (let alone "proof') of any major
                                        fraud (enough to change the results). That is the conclusion of
                                        everyone that has looked at the so called 'evidence' submitted
                                        to courts.
                                        You have to ask yourself why would some Republican's lie? All
                                        you have to do is look to your email where tRump and
                                        company are asking for money.
                                        tRump has made more money in the last few weeks then he has
                                        made in the last 10 years.
                                        Follow the money!
                                         " Iv       10 • Reply • Share ,

                                        killermrob83 ,+ con_fuse• 2 daysago
                                        Trump IS the POTUS and will RE1vl4.INthe POTUS until his
                                        2nd term is complete
                                        7 "    Iv       •   Reply • Share >

                                        bob,+ killermrob83• 18hoursago
                                        maybe longer! Who willbe left when all the criminals that
                                        committed TREASON are put away? The whole democratic
                                        party is guilty!!!
                                        1 " I v • Reply • Share ,



                                        glemo ,+ killermrob83• 2 daysago
                                        Know any more bad jokes
                                         " Iv       •   Reply • Share ,

                                        bob,+ glen10• 18hoursago
                                        Your mom?
                                        " I v • Reply • Share ,
                                        glemo ,+ bob • 12hoursago
                                        my mom would never lie like that stupid bit-h
                                         " Iv       •   Reply • Share ,




                                 ■ "I
                                        tatoo ,+ killermrob83• 2 daysago
                                        We have never had a president t1y so hard to lose an election.
                                               v    2 •     Reply • Share ,

                                        bob-+ tatoo • 18hoursago
                                        Guess who ";U be sworn in soon. I'll give you a hint, his initials
                                        are DJT. Suck it libtard!
                                        1 " I v • Reply • Share ,



                                        Lopoce ,+ con_fuse• 2 daysago
                                        G FY Commie scumbag. President Trump lost money to be
                                        President MORON
                                        2 " I v   • Reply • Share ,


                                        glemo ,+ Lopoce• 2 daysago
                                        He lost nothing he has made millions scre\Vfog the government
                                        and contributors while in office
                                         " I   v    •   Reolv • Share >



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                                        G FY Commie scumbag. President Trump lost money to be
                            Case 1:21-cv-00040-CJN
                                    President MORON
                                                    Document 1-50 Filed 01/08/21 Page 10 of 13
                                        2,..   Iv   •   Reply. Share,

                                        gle1110 ,+ Lopoce• 2 daysago
                                        He lost nothing he has made millions screwing the government
                                        and contributors while in office
                                        " I v • Reply • Share ,
                                        Vandyman63 ,+ con_fuse• 2 daysago
                                        Corn_fused, any relation to Corn Pop??
                                        2,.. I v • Reply. Share,
                                        carmen ramirez ,+ It's.-ill OverButTheCr}in' • 2 daysago
                                        It's not whom or how many voted that counts, it's the ones
                                        counting the votes that matter. It's not the ones who witnessed
                                        the crime or how many that matter, it's the ones that prosecute
                                        the crimes or judge them that matters. In this case the
                                        investigators are in on the steal too. All for the hate of one man.
                                        When someone threatens the status quote, he is a threat to the
                                        system they are building. They will stop at nothing to preserve
                                        their power and financial gain.
                                        16 " I v 2 • Reply • Share ,

                                        glen10 ,+ carmenramirez• 2 daysago
                                        No one is more corrupt than Trump before and after being
                                        elected
                                        " I v • Reply • Share ,
                                        Duvel the elder,+ carmenramirez• 2 daysago
                                        A pair of Trump fans die and get to the pearly gats. One asks St
                                        Peter "Ok who really won the election?"
                                        St Peter says "Well Joe Eiden of course."
                                        The man looks to his friend and says "!Vianthis conspiracy goes
                                        deep!"
                                         " I v s • Reply •     Share ,

                                        Bwana ,+ It'sAllOverButTheCr}in' • 2 daysago
                                        Your lies are many. Just like your own upvotes. All lies.
                                        Perhaps you work for Dominion.
                                        12 " I v 3 • Reply • Share ,



                                        It's All Over But The Cryin' ,+ Bwana• 2 daysago
                                        The way that Trump cultists and jihadists self-brainwash is by
                                        shutting-out all legitimate information that doesn't make them
                                        feel good, while uncritically and automatically believing lies
                                        and misinformation from sources that do make them feel good
                                        (no matter how extreme and off-the-wall).
                                        5"     Iv   4 • Reply• Share,




                                 ■
                                        Exposing The Fake News Media,+ It's .-illOverButTheCcyin'
                                        • 2daysago• edited
                                        The way that leftard cultists and jihadists self-brainwash is by
                                        shutting-out all legitimate information that doesn't make them
                                        feel good, while uncritically and automatically believing lies
                                        and misinformation from sources that do make them feel good
                                        (no matter how extreme and off-the-wall). There, fixed it for
                                        you.




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                                 ■
                                        Exposing The Fake News Media,+ It's .-'JIOverButTheCcyin'
                            Case 1:21-cv-00040-CJN
                                    • 2 daysago• edited Document 1-50 Filed 01/08/21 Page 11 of 13
                                        The way that leftard cultists and jihadists self-brainwash is by
                                        shutting-out all legitimate information that doesn't make them
                                        feel good, while uncritically and automatically believing lies
                                        and misinformation from sources that do make them feel good
                                        (no matter how extreme and off-the-wall). There, fixed it for
                                        you.
                                        2,..     Iv       •   Reply. Share,

                                        Lopoce ,+ It'sAllOverButTheCryin'• 2 daysago
                                        You are a liar. All liars must pay
                                        2,..     Iv       •   Reply. Share,

                                        glemo ,+ Lopoce• 2 daysago
                                        He owes nothing because he is 100% correct
                                         ,..I v       1 -     Reply - Share,

                                        Zacrohl Pesty ,+ Bwana• 2 daysago

                                 ■      Potus skunk lied over 25k times in 4 years dam!!
                                         ,..I v       •    Reply • Share ,

                                        Lopoce ,+ ZacrohlPesty• 2 daysago
                                        You are projecting stupid
                                        1,..     Iv       -   Reply - Share,




                                 ■ ,..I
                                        Chuck Shick,+ Bwana• 2 daysago
                                        The Denial is powerful in this one.
                                                 v    •    Reply • Share ,

                                        Suzy Jules,+ It's.-'JI0YerButTheCryin' • 2 daysago
                                        Keep doing the same thing to get the same answer. Reviewed
                                        small counties, not the major city Fulton type counties.
                                        6 ,..    Iv       2 •   Reply • Share,

                                        It's All Over But The Cryin' ..+suzyJules. 2 daysago• edited
                                        Cobb County is a suburban county of Atlanta in the U.S. state
                                        of Georgia, located in the north central portion of the state. As
                                        of 2019, the population was 760,141, making it Georgia's third
                                        most-populous county.

                                        EXCERPT FROM NY POST OPEN LETTER TO TRUMP

                                               You had every right to investigate the election. But let's be
                                               clear: Those efforts have found nothing. To take just two
                                               examples: Your campaign paid S3 million for a recount in
                                               two Wisconsin counties, and you lost by 87 more votes.
                                               Georgia did two recounts of the state, each time affirming
                                               Biden's win. These ballots were counted by hand, which
                                               alone debunks the claims of a Venezuelan vote-manipulating
                                               Kraken conspiracy.

                                        -- NY Post, 12/27/2020
                                        7 "      Iv       7 • Reply • Share >

                                        Sniff achoo,+ It's AllOverButTheCcyin'- 2 daysago
                                        Where were the mail-in ballots? Who counted the ballots?
                                        What about the video that showed the suitcases of ballots being
                                        pulled out after the polls closed? I'm glad you referenced




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                                    -- NY Post, 12/27/2020   Document 1-50 Filed 01/08/21 Page 12 of 13
                                   7 " I v 7 • Reply • Share >

                                        Sniffachoo ,+ It's AllOverButThe Cryin'- 2 daysago
                                        Where were the mail-in ballots? Who counted the ballots?
                                        What about the video that showed the suitcases of ballots being
                                        pulled out after the polls closed? I'm glad you referenced
                                        Venezuela ... they had the same system in place, but nobody
                                        stopped them ... and now the once-happy populace is eating out
                                        of the garbage trucks.
                                        6" I v • Reply. Share,

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